
JUDGE BROOKE
observed that, in this case, the infants are not plaintiffs, but defendants, to the scire facias.
JUDGE TUCKER
was of the same opinion, observing that the person nominated as guardian ad litem could not be compelled to take upon him the office ;(b) and that, therefore, the infants must be protected as involuntary parties brought into court by process.
The court overruled the motion for an absolute dismission ; but made an order “that the appeal be dismissed, unless good cause be shown to the contrary, on or before the 18th day of May next, satisfactory proof being required that a copy of such order shall have been served on the appellants, at least twenty days previous to that time.
■ Friday, September 20th. The cause was again called, *when Wickham appeared as counsel for the appellants, and Hay, for the appellees. The points made in argument, and circumstances appearing in 'the record, are not worth reporting ; because the court affirmed the decree, without assigning any particular reason ; and, therefore, (considering the nature of the case, the claim of the appellants being subject to objections, either of which was sufficient to overthrow it,) no certain conclusions can be drawn concerning the grounds on which the decision was founded. (1)

 Pox v. Cosby, 2 Call, 1.

